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                         Exhibit E
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                     2011 Futurewei Employment Agreements
  #     Date         Assignment Provision Similar to Huang’s?      Starting Bates
  1     1/3/2011     Yes                                           HUAWEI_TX_3300991
  2     1/3/2011     Yes                                           HUAWEI_TX_3300999
  3     1/17/2011    Yes                                           HUAWEI_TX_3301005
  4     3/21/2011    Yes                                           HUAWEI_TX_3301015
  5     3/21/2011    Yes                                           HUAWEI_TX_3301025
  6     4/4/2011     Yes                                           HUAWEI_TX_3301038
  7     4/18/2011    Yes                                           HUAWEI_TX_3301048
  8     4/25/2011    Yes                                           HUAWEI_TX_3301058
  9     5/9/2011     Yes                                           HUAWEI_TX_3301068
  10    5/31/2011    Yes                                           HUAWEI_TX_3301079
  11    6/20/2011    Yes                                           HUAWEI_TX_3301089
  12    6/20/2011    Yes                                           HUAWEI_TX_3301099
  13    7/5/2011     Yes                                           HUAWEI_TX_3301109
  14    7/11/2011    Yes                                           HUAWEI_TX_3301119
  15    8/1/2011     Yes                                           HUAWEI_TX_3301129
  16    8/8/2011     Yes                                           HUAWEI_TX_3301139
  17    8/15/2011    Yes                                           HUAWEI_TX_3301149
  18    8/22/2011    Yes                                           HUAWEI_TX_3301160
  19    9/6/2011     Yes                                           HUAWEI_TX_3301170
  20    9/26/2011    Yes                                           HUAWEI_TX_3301180
  21    10/31/2011   No (Contained reference to Cal. Labor Code)   HUAWEI_TX_3301190
  22    11/7/2011    No (Contained reference to Cal. Labor Code)   HUAWEI_TX_3301202
  23    11/7/2011    No (Contained reference to Cal. Labor Code)   HUAWEI_TX_3301214
  24    11/11/2011   No (Contained reference to Cal. Labor Code)   HUAWEI_TX_3301226
  25    11/28/2011   No (Contained reference to Cal. Labor Code)   HUAWEI_TX_3301238
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